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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                                               2/15/2024
 UNITED STATES OF AMERICA,                                       Initial Indictment:
                                                                                                                       CDO
                                                                  2:24-cr-00103-MWF
                                       PLAINTIFF
                                                                 Case number to be assigned by Criminal Intake Clerk
                            v.
                                                                 Superseding Indictment:
 ROGER KEITH VER,
                                       DEFENDANT(S)              Case number to be assigned by Criminal Intake Clerk


                                                                    NOTICE TO COURT OF COMPLEX
                                                                           CRIMINAL CASE
                                                           (To be filed at the time the Indictment is filed or upon the filing of a
                                                           Superseding Indictment in a case not previously identified as complex)



 ‫ ܈‬Initial Indictment

     Upon a careful review of the initial indictment, it is the opinion of the United States Attorney’s Office that
     this case qualifies as complex because:

 ‫ ܆‬There are eight (8) or more defendants. The number of defendants is                              .

     and/or

 ‫ ܈‬The presentation of the evidence in the Government’s case-in-chief (including cross-examination) will
   exceed twelve (12) trial days. The current estimate is twenty (20) trial days.


 ‫ ܆‬Superseding Indictment

     Upon a careful review of the               superseding indictment, it is the opinion of the United States
     Attorney’s Office that this case now qualifies as complex because:

 ‫ ܆‬There are eight (8) or more defendants. The number of defendants is                            . The previous number of
   defendants was              .

     and/or

 ‫ ܆‬The presentation of the evidence in the Government’s case-in-chief (including cross-examination) will
   exceed twelve (12) trial days. The current estimate is         trial days. The previous estimate was
            trial days.


 2/15/2024
 Date                                                      JAMES C. HUGHES
                                                           Assistant United States Attorney




CR-63 (09/14)                    NOTICE TO COURT OF COMPLEX CRIMINAL CASE
